C$Se 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 PageE.$Zhi|Bgietl Z)NJ_G

  

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Statement of Student Rights
& Responsibi|ities

UN[\-'ERSITY OF

MICHIGAN

 

CdtSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.478 Page 2 01 16

1 STATEMENT OF STUDENT R|GHTS AND RESPONS|B|L|T|ES
CONTENTS

|ntrocluction 1

Student Rights and Responsibilities 2

Violations 3

Scope of the Vio|ations 4

Procedures 5

Sanctions/|nterventions 9

Re|ated Procedures 11

 

 

 

The Universit_v of Michigan-Ann Arbor (the University) is dedicated to supporting
and maintaining a scholarly community As its central purpose, this community pro-
motes intellectual inquiry through vigorous discourse. Values which undergird this
purpose include civility, dignity, diversit_v, education, equality, freedom, honesty, and
safetv.

When students choose to accept admission to the L'niversity, they accept the rights
and responsibilities of membership in the University’s academic and social commu-
nity. As members of the L'niversity community, students are expected to uphold its
previously stated values by maintaining a high slandard of`cond ucl. Because the L'ni~
versity establishes high standards for membership, its standards of conduct, while
falling within the limits of the law, may exceed federal, state, or local requirements

Within the University, entities (such as schools and colleges; campus, professional,
and student organizations) have developed policies that outline standards of conduct
governing their constituents and that sometimes provide procedures for sanctioning
violations of those standards Tiiis Stotement ofStudent Rights and Responsibilih`es
(the Stotement) does not replace those standards; nor does it constrain the pmce-
durcs or sanctions provided by those policies 'T`his Sioiement describes possible
behaviors which are inconsistent with the values of the Universit_v community; it
outlines procedures to respond to such behaviors; and it suggests possible sanctions/
interventions which are intended to educate and to safeguard members of the Uni-
vcrsity community.

 

ClJSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.479 Page 3 01|16

STATEN|ENT OF STUDENT RlGHTS AND RESPONS|B|L|T|ES 2

 

 

 

Students at the University have the same rights and protections under the Constitu-
tions of the United States and the State of Michigan as other citizens These rights
include freedom of expression, press, religion, and assembly. The University has a
long tradition of student activism and values freedom of expression, which includes
voicing unpopular views and dissent As members of the L'niversity community, stu-
dents have the right to express their own views, but must also take responsibility for
according the same right to others.

Students have the right to be treated fairly and with dignity regardless of race, color,
national origin, age, marital status, sex, sexual orientation, gender identity, gender
expression, disability, religion, height, weight, or veteran status, and as revised in the
University of Michigan Nondiscrimination Policy. The University has a long-stand-
ing tradition of commitment to pluralistic education. Accordingly, the University,
through this Staternenr, will not unlawfully discriminate on the basis of protected
group status.

Students have the right to he protected from capricious decision-making by the Uni-
versity and to have access to University policies which affect them. The University
has an enduring commitment to provide students with a balanced and fair system

of dispute resolution. Accordingly, this Statement will not deprive students of the
appropriate due process protections to which they are entitled. This Storemenr is one
of the University’s administrative procedures and should not be equated With proce-
dures used in civil or criminal court.

Stndents also have a right to be educated about this Statement, and the University
has a responsibility to provide education to students about the contents of this Srate-
rnent. Students shall be made aware of their rights as outlined in this Statemen!, in
addition to their responsibilities Speciiically, beginning in Winter 2017, the Division
of Student Life must inform new students of the violations of this Stotement and
potential sanctions/interventions they mayl face ift`ound responsible for violating this
Stutement.

The University’s commitment to providing students appropriate dispute resolution
avenues means that in addition to formal conflict resolution processes the University
also provides informal, adaptable conflict resolution pathways. Related procedures
are outlined in VI.2.B. Adaptablc Conflict Rcsolution (including Mediation).

 

 

     

 

Along with rights come certain responsibilities Students at the University are
expected to act consistently with the values of the t.`niversit_v community and to
obey locall state, and federal laws.

CaSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.480 Page 4 01 16

STATEMENT OF STUDENT R|GHTS AND RESPONSlB|L|T|ES

 

 

 

 

Students are expected to comply with
published University policies. The
following behaviors, for example, con-
tradict the values of the University com-
munity and are subject to action under
this Sraremenr.

A. Physically harming another person
including acts such as killing, assault-
ing, or battering

B. Engaging in sexual misconduct as
defined by the Universit_v of Michigan
Policyand Procedures on Student Sex-
ual and Gender-based Misconduct and
Other Forms of lnterpersonal Violence.
Students who are reported to have expe-
rienced or engaged in sexual misconduct
are subject to the resolution procedures
outlined in the University of Michigan
Policy and Procedures on Student Sexual
and Gender-based Misconduct and ()thj
er Forms of lnterpersonal Violence

C. Haaing

D. Stalking another person as defined
by the University of Michigan Policy
and 1’rocedures on Student Sexual and
Gender-based Misconduct and Other
Forms of lnterpersonal Violence. Stu-
dents who are reported to have experi-
enced or engaged in stalking by other
students are subject to the resolution
procedures outlined in the University
of Michigan Policy and Procedures on
Student Sexual and Gcndcr-based Mis-
conduct and Other Forms of lnterper-
sonal Violence

E. Perpetrating intimate partner vio-
lence (also known as dating or domestic
violence) as defined by the University of
Michigan Policy and Procedures on Stu-
dent Sexual and Gender-based Miscon-
duct and Other Forms of lnterpersonal
Violenee. Students who are reported

to have engaged in or experienced inti-
mate partner violence by other students
are subject to the resolution procedures
outlined in the University of Michigan
Policy and Procedures on Student Sex-
ual and Gender-based Misconduct and
Other Forms of lnterpersonal Violence

F. Harassing or bull_ving another per-
son-physically, verbally, or through
other means

G. Tarnpering with fire or other safety
equipment or setting unauthorized fires

I-I. Illegally possessing or using alcohol

I. Illegally distributing, manufacturing,
or selling alcohol

J. lilegally possessing or using drugs

K. Illegally distributing, manufactur-
ing, or selling drugs

L. lntentionally and falsely reporting
bombs. iires, or other emergencies to a
University official

M. Stealing, vandalizing, damaging,
destroying, or defacing Universit_v prop4
erty or the property of others

N. Obstructing or disrupting classesl
research projects, or other activities or
programs of the University; or obstruct»
ing access to L'niversity facilities, prop-
erty, or programs (except for behavior
that is protected by the Univcrsity’s
policy on Freedom of Speech and Artis-
tic F.xpression]

O. Making, possessing or using any
falsified University document or .record;
altering any University document or
record. including identification cards
and meal cards

P. Assuming another person’s identity
or role through deception or without
proper authorization Communicating
or acting under the guise, name, identi-
fication, entail address, signature, or in~
dicia of another person Without proper
authorization, or communicating under
the rubric of an organization. entity, or
unit that you do not have the authority
to represent

Q. Failing to leave University conj
trolled premises when told to do so by

C€itSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Pege|D.481 Pege 5 Of 416

STATE|V|ENT OF STUDENT R|GHTS AND RESPONS|B|LIT|ES 4
a police or security officer with reason- interfering with participants involved in
able cause the resolution process
R. Conviction, a plea of no contest, T. Vio]ating University computer pol-
acceptance of responsibility, or acccp- icics
ta nce ofsa actions for a crime or civil
infraction (other than a minor traffic U. Possessing, using, or storing
offense] in state or federal court if the flrt‘arrns, t‘xplosi\‘es, or weapons on
underlying behavior impacts the Uni- University controlled property or at
\'ersit_v community Univcrsit_v events or programs (unless

approved by the Departmcut of Public
S. Misusing, failing to comply with. Safety; such approval will be given only
or jeopardizing Stcltement procedures iu extraordinary circuntstances]
sa nctions, or mediated agreements or

 

   

 

 

Behavior which occurs in the city ofr\nn Arbor, on Uuivcrsit_v controlled propert_v, or
at University sponsored events/ programs may violate the Stotement. Behavior which
occurs outside the city of Ann Arl)or or outside Uni\-'crsit_v controlled pro petty may \'i-
olatc the Stotement only if the behavior poses an obvious and serious threat or harm
to any member(s} of the University community Bcliavior will bc addressed under
the Stoternenf in effect at the time the behavior allegedly occurred, not at the time the
complaint was filed.

The Statcment ofStudcnt Righrs and Responsibilirt'es is intended to incorporate
other specific t.'ni\'crsity policies b_v reference These policies are: the Uni\'ersity
llousing’s Cominunity Living at Michigau Handbook, the Student Sexual and Ge.n-
der-based Miscnnduct and Other Forms of lnterpersonal Violt‘ncc, the Rcsponsihlc
Use oi`Information Resources, and related student information technology policies
’t`he. Statemenr will be used to address violations of these policies only if the \-'iola-
tion warrants a process or a sanction_/ intervention beyond what is available in these
policies. ln such cases, policy adjudicators may take intermediate action regarding a
Colnplailtt as defined by their individual polie_v; however" final rcsolutitjm will occur
under thc procedures outlined in this Stut'cment.

 

CaSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.482 Page 6 Of l16

5 STATEN|ENT OF STUDENT R|GHTS AND RESPONS|B|L!T|ES

 

 

The L'niversity will use the following procedures to respond to behavior which goes
against the values of the L`niversit_v community as defined in this Stoternent. The
University considers the procedures for resolving disputes a part of its educational
mission and is committed to a process which provides both peer review and media-
tion. Persons who have questions about the Stotcmenf should contact the Resolution
Coordinator {RC) who provides support to all participants Resolution and appeal
processes are administrative functions and are not subject to the same rules of civil or
criminal proceedingsl Because some violations of these standards are also violations
of law, students may be accountable to both the legal system and the University.

STAGE 1: lNlTlATlNG THE RESOLUT|ON PROCESS

.-\ny student, faculty member, or staff member may contact an RC to learn about
available resolution options, and /or to initiate a resolution process Resolution path-
ways may be accessed with or without submission of documentation, although some
pathways require a written complaint to initiate the process

Any student, faculty member, or staff member may submit a complaint alleging a
violation of the Stoternent. A student, faculty member, or staff member may also sub~
mit a complaint based upon information reported to that person. All complaints must
be submitted to the RC, in writing, within six months after the incident{s) alleged in
the complaint The RC may waive the six-month limitation when a late submission is
reasonable lfthe RC determines, based on an investigation, that the alleged behavior
may be a violation ofthe Stotement, the RC will notify the respondent and schedule a
meeting as described below.

The RC may dismiss the complaint at any stage if the RC reasonably believes that the
complaint is baseless or otherwise unsupported by thc available evidence, or that the
underlying grievance or problem is better resolved in a different manner.

STAGE 2: RESOLUT|ON PROCESS

The RC will meet with the respondent to explain the complaint and the resolution
process The student may be accompanied by an advisor at any point in the reso-
lution process The student will have the opportunity to ask questions and make a
statement The RC will inform the respondent (1) that statements the student makes
to the RC maybe considered at any hearing1 (2} that the student does not have to
make a statement at the initial meeting, (3] that all Oftice of Student Contlict Resolu-
tion (OSCR) records are confidential to the extent permitted by law, [4) that students
have a right to know the potential sanctions/ interventions they may be facing and (5)
that students may consult with an advisor at any point in the resolution process

 

 

Cii}Se 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.483 Page 7 Of h€

STATEMENT OF STUDENT R|GHTS AND RESPONSEB|L|T|ES 6

The respondent has a choice of‘ the following methods of dispute resolutiou:
A. Aecepta.nce of Responsibility and Entering into an Agreement

If the respondent is in general agreement with the allegations in the complaint. and
is in general agreement With the complainant and/or community (as represented by
the RC] about how to resolve the conflict and restore the community, the respondent
has the option of entering into an agreement ln resolution by agreement the respon~
dent accepts responsibility for the alleged violation(s} of the S!atement and agrees to
fultill sa nctions/ interventions that are developed with the input of the respondent,
the complainant, and the RC. The respondent has the right to discuss potential sanc-
tions,/ interventions before entering into an agreemenl. Olice an agreement has been
reached, it may not be appealed. T he respondent also has the option of entering into
an agreementl)y accepting responsibility for the alleged violations of the Statcment
and requesting a hearing on the sanotions/interventions under the procedures out-
lined in V].2.C. “Hearing.”

B. Allaptable Cunflict Resolutian (including Mediatinn)

Inforrna] and adaptable conflict resolution (ACR) processes snell as mcdiation, facil-
itated dialogue and restorative justice circles allow individuals involved in a conflict
to have significant influence over the resolution process and complete control of an_v
outcome.

If {1) all persons personally and directly affected by the conflict agree to attempt res-
olution th rough one of these processes, and (2} the RC believes that thc process is an
appropriate form of resolution, then the RC will make arrangements for the chosen
ACR pathwa_v. The nature of some conflicts, especially those involving \iolence, may
render ACR inappropriate

Pal'ticipation in an ACR process is voluntary and may or may not result in au agree-
ment or resolution When a mutually satisfactory resolution is reached b_v the parties,
the case is resolved and parties are encouraged to use thc RC as a resource for future
questions Resolutions reached through ACR may not be appealed

lf resolution is not achieved through an attempt at ACR and the matter involves a
pending Stotement violation, the respondent has the choice of accepting responsibili-
ty and entering into an agreement, or proceeding to a hea ring.

C. I-Iearing

The standard of review is the respondent is presumed not responsible
unless clear and convincing evidence is presented that a violation of the
Statement has occurred

'l`he respondent may choose to have a Resolution ()Ftlcer (RO} or a Student Resolu-
tion Pane] arbitrate the dispute. Should the complainant disagree with the respon-
dent`s choice, an RO will determine whether an RO or a panel is most appropriate for
the complaint based on explanations submitted by the parties ln cases which involve

 

 

CiaSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.484 Page 8 Of 16

7 STATEMENT OF STUDENT R|GHTS AND RESPONS|B|L|T[ES

 

 

more than one respondent, the students Will have the option of choosing whether
they have the same or separate hearings If students cannot agree, the hearings will
be separate

Each party maybe accompanied at the hearing by a personal advisor, who maybe an
attorney; however, the advisor may not participate directly in the proceedings but
may only advise the party_ F'or example, the advisor may not question witnesses or
make presentations

All parties may have access to all written or other information that will be considered
prior to the hearing including the names of witn cases providing information. The RC
will prepare and distribute this information prior to the hearing.

During the hearing, the RO, RC, respondent, complainant and student panelists [if
applicable] have the right to question the complainant and the RC. These participants
may also question (1] the respondent, if the student chooses to participate and [2) any
witnesses who have presented information Silence by the respondent will not

be interpreted as evidence ofresponsibilityfor a violation. Witnesse£ may
be present in the hearing room only when they arc presenting information At any time
during the hearing, the respondent may request a recess to consult with an advisor. The
respondent and the complainant may call any Witness with information that is relevant
to the case, but thc RO may exclude a witness if information is redundantl

The respondent, complainant, and RC may also present written reports to the panel
or RO. The respondent and complainant may make Statements to the panel or RO at
the beginning and end of the proceeding.

To ensure the privacy of the parties and to maximize the educational potential of the
process, all parties must agree to the admission of any other people (except witnesses
or ad\isors) to the hearing 'l`o ensure fairness and consistency, and to maximize the
educational potential of the process, panelists must have access to details, rationales,
and results of past cases.

An audio recording Will be made of Statement hearings, and will be made available
(in the OSCR ofticel to the respondent or complainant upon request during the pe-

 

CaSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.485 Page 9 Of l16

STATEN|ENT OF STUDENT R|GHTS AND RESPO|\|S|B|L|T|ES 8

 

riod in which an appeal maybe filed or is pending in all cascs, thc RO will issue a
written decision containing findings of fact, conclusions as to responsibilit_v, and ra-
tionales for all sa nctions/interventions imposed

All arbitrated resolutions will result in findings of fact. 't`he fact-ii nder will also make
recommendation (s} rcga rd ing sa nctions/intcr\-crations to the Dean of Students` who
may accept or modify the recommendation(s). 'l`he Dean may not modify sanctions,/
interventions to include suspension or expulsion I-[owever, when expulsion is recom-
mended, the Dean may instead suspend the student

STAGE 3: APPEAL|NG THE RESOLUT|ON PROCESS

.»'\n appeals process is an essential safeguard for an imperfect human process that
attempts very hard to be fair. The appeals process is available to each party. Appeals
maybe died for the following reasons; proper procedures were not followed, the evij
dance clearly does not support the tinding(s), sanctions,"interveiitioiis are insufficient
or excessive relative to the violation, or there is new evidence not reasonably avail-
able al the lime o[` the hcaring,. All appeals must be submitted in writing to the RC
within ten academic calendar days alter notification of thc Dcan ot` Students" decision
to accept or modify the recommendations resulting from the hearing. The Vice l’res-
ident for Student l,ife (VPSI.) may waive thc ten-day limitation when a late snbmisj
sion is reasonable 't`he appeal will be reviewed by an Appeals Board composed of one
student appointed by the Central Student Govern ment (CSG), one faculty member
appointed by the Faculty Senate, and one administrator appointed by the President.
CSG, the l~`acult_v Senate, and the l’resident will each appoint one alternate member
to the Appeals Board. The Appeals Board will recommend one of the following ace
tions to the VPSL: [a) confirming the decision made through the hearing process {lJl
altering the sanctions/interventions (c) striking the initial finding of responsibility
and/or sanctions/interventions and remanding to the original fact-tinder for further
consideration With corrective instructions from the Appeals Board, or (d) ordering

a new hearing before a new fact-linderl Thc VPSI. may accept or modify the recom~
mendation(s). The VPSL may not modify sanctions/ interventions to include suspen-
sion or expulsion I'Iowever, when expulsion is recommended the VPSL may instead
suspend the student.

 

CéiSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.486 Page 10 01116

9 STATEMENT OF STUDENT R|GHTS AND RESPONS|B|L|T|ES

 

 

 

Sanctions/ interventions are designed to promote the Universitjfs educational mis-
sion. Sanctions/interventions may also serve to promote safety or to deter students
from behavior which harms or threatens people or property or is motivated by bias
because of membership in a group listed in ll‘|la. Some behavior is so harmful to the
University community or so deleterious to the educational process that it may re-
quire more serious sanctions/ interventions such as removal from housing, removal
from specific courses or acti\-”ities, suspension from the University, or expulsion No
sanctions,/ interventions will automatically impose other sanctions/' interventions
following future offensesl One or more of the following sa netions/ interventions may
be recommentled:

A. Forma] Reprimand:
A formal notice that the Stotement has been violated and that future violations
wifl be dealt with more severely

B. l)isciplinary Probation:
A designated period of time during which the student is not in good standing with
the Uni\»'ersity. The terms of probation may involve restrictions of student pri\»i-
leges and/or set specific belia\ioral expectations

C. Restitution:
Reasonable compensation for loss, damage, or injury to the appropriate party in
the form of community service or service learning, money, or material replace-
ment.

D. Restriction from Employ'ment at the University:
Prnhibition or limitation on University employment

F’

Class/Workshop Attendance:
Enrollrnent and completion of a class or workshop that could help the student
understand Why certain behavior was inappropriatel

 

 

CdSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.487 Page 11 Ofi 16

STATEMENT OF STUDENT R|GHTS AND RESPONS|B|LET|ES 10

F. Educational Project:

Completion of a project specifically designed to help the student understand why
certain behavior was inappropriate

G. Sel'vice:

Performance of one or more tasks designed to benciit the community and help
the student understand why certain behavior was inappropriate

H. University Housing Transfer or Remova]:
Placement in another room or housing unit or removal from University housing.

1. Remova] from Specii"ic Course.s or Activities:

Suspension or transfer from courses or activities at the University for a specified
period of time_

J . No Contact:

Restriction from entering specific University areas and/ or ali forms ol`eontaet
with certain pcrson(s)_

K. Suspension:

Separation from the University for a specified period of time or until certain con-
ditions are met_

L. Expulsion:

Permanent separation from the University.

 

 

CdSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed O6/19/18 Page|D.488 Page 12 Oi 16

11 STATEN|ENT OF STUDENT R|GHTS AND RESPONS!BIL|T|ES

 

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A.

Emergency Suspension

lfa student’s actions pose an immediate danger to any member of the Univer-
sity community, the VPSL or a designee may immediately suspend the student
pending a meeting. Except in extraordinary circumstances that meeting will be
scheduled within two academic calendar days. At this meeting, the student will be
informed of the nature of the alleged violation, presented with available evidence,
and given the opportunity to make a statement and present evidence It` the emerw
gency suspension is continued, the student will be offered a hearing option within
ten academic calendar days.

Prllcedul'al and Interpretive Questions

All procedural and interpretive questions concerning the Stotement will be re-
solved by the VPSL or designee At any timc, the VPSL or RC may consult the
Oli"ice of the General Counsel about a case or procedures

. Selection of Med.iators, Student Panelists, and Resolution Of'ficers

University mcdiators will be selected by the VPSL or the VFSL’s designee. A list of
trained non-university mediation services will be maintained by the Oftice of the
VPSL_ The VPSL Will try to identify non-university mediators who will serve pa r-
ties at no charge or on a sliding fee scale. A pair of multipartial mediators will be
selected for each mediation based on preferences expressed by the parties Each
winter term 60 students will be appointed to serve as panelists for the following
academic year. The VPSL or designee will generate a random ordered list of po-
tential student panelists using a method approved by CSG which is expected to
encourage a diverse pool of students. The students will be contacted and asked if
they will serve as panelists for the following year, subject to the approval by CSG
and other respective student government bodies, until the designated number
of student panelists has been appointed Resolution OHicers are recommended
equally by the Faculty Sen ate and VPSL. Each Student Resolution Panel will
consist of live voting student panelists and a non-voting RO who will oversee the
proceedings

Records of Resolution Actions

Records will be maintained by the RC with regard to any and all actions taken
under the Staternent. Accordingly, records will be maintained by the RC of com-
plaints, agreements, hearings, lindings, and sanctions/'interventions. For each
case in which a comptaint is issued, including cases where the student accepts
responsibility, the record will recite the facts of all conduct found or admitted to
be in violation of thc Stotement with sufficient specificity to indicate that a viola-
tion of the Stotement occurred. Confidentiality of records will be maintained to
the extent permitted by law and the University of Michigan Student Rights and
Student Records Policy: http:// ro.umich.edu/ferpa/.

Records of medications or other ACR processes are not considered a disciplinary
record. ACR records will be maintained as appropriate to meet the needs of dis-
putants and for annual reporting purposes

Ifa student is suspended or expelled, a notation wille made on the student’s
academic recond. The notation of suspension will be removed at the time the stu-
dent is readmitted to the University.

C€itSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed O6/19/18 Page|D.489 Page 13 Oi 16

STATENIENT OF STUDENT RlG HTS AND RESPONS|BIL|T|ES 12

E. Student Aecess to Records
Records and documents that will be considered during a hearing will be made
available in advance to all parties but may be redacted to protect the privacy
rights of individuals not directly involved in the resolution process

F Repor'ts of Actions

Statistical reports of actions taken through the Sto!ement will bc published fol-
lowing each academic term. These data will cover the number of complaints and
the types of violations, resolutions, and sanctions/interventions Periodic, regular
review of records of resolution actions will be made available, in confidence1 to
the CSG Student General Counsel or another CSG Executive.

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9

Concurrent Legal and Statement Proceedings

To ensure the educational potential of the process and in fairness to a com-
plainant, the University should provide a prompt response to behavior which
goes against the values of the Univcrsity as defined by the Statement. ln the in-
terest of fairness to a respondent, however, a student undergoing civil or criminal
action for the same behavior which forlns the basis of a complaint under this
Stotemcnt may request a reasonable delay of the Statement resolution process
until external proceedings are resolved. ln determining whether a request is rea-
sonable, the RC will evaluate the unique circumstances of the case, including the
length of the delay and the impact of delay on the complainant and community,
in addition to protecting the integrity of the resolution process in granting a re-
quest for a delay, the RC may implement conditions on continued enrollment, as
appropriate if a respondents request for delay is denied, the student may with-
draw from enrollment and may not re-enroll until authorized by the VPSL or the
VPSL’s designee.

H. Respect for Medical Amnesty
To better ensure that minors at medical risk as a result of alcohol intoxication
will receive prompt and appropriate medical attention, the State of Michigan
has adopted a medical amnesty law to remove perceived barriers to calling for or
seeking help.

Michigan law continues to prohibit a minor from purchasingl consuming, or
possessing, or attempting to purchase, consume, or possess, alcoholic liquor and
from having any bodily alcohol content. Michigan law. however, includes an ex-
emption from prosecution for the following:

° A minor who voluntarily accesses a health facility or agency for treatment or
observation after consuming alcohol;

" Any minor who accompanied a minor who voluntarily accesses a health fa-
cility or agency for treatment or observation after consuming alcohol; and

' Any minor who initiated contact with law enforcement or emergency med-
ical services personnel for the purpose of obtaining medical assistance in
connection with their own personal consumption of alcohol or consumption
by others.

The University of Michigan maintains the discretion to refer the individual for appro-
priate educational intervention(s].

 

CalSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.490 Page 14 Ofll€

13 STATEMENT OF STUDENT R|GHTS AND RESPONS|B|L|TlES

I. Advisor Corps
CSG, with the approval of (}cncral Counscl, has thc option to develop a student
peer advisor corps. These advisors will be available to any student party involved
in Stntcmenr proceedings [exciuding mediations]. All potential peer advisors in
thc Advisor Cr_)rps must successfull_\_-' complete training provided by OSCR. OSCR
will develop and conduct training in consultation with CSG.

J. Amending the Statement ofStudent Rights and Responsihililr`es
The Slrttemcni is a dynamic document subject to revisions by the L‘omn)unity.
'l`he Stotenientwill be open for amendments every three years 'l`he VPSL, SRA(_`.
Chair, and CSG Presidcnt may unanimously agree to have an ofllc_\-clc amendj
mcnt period ifnccessar_v. The Roard of Regents has provided the Student Rela-
tions Advisory Committee (S RAC) of the Senate Assembly with primary oversight
of thc rcvicw.

Campus community members are encouraged to participate in the process
Amendments may be proposed by CSG_. thc Senatc ossembly, or anyl F.xccutivc
Offlccr of thc LTni\-crsity. SRAC will review the proposed amendments and consult
with the Office of General Counsel. SltAC will then forward the proposed amend-
ments and their recommendations to the VPSL. The tinal decision on amending
the Stotemcnt will be the l’resident`s.

The President should communicate the decision to accept or reject each ofthe
proposed amendments in a public and timely manner, at least two weeks before
the last day of classes during theJ winter semester. The President’s communication
to the student body should state a rationale for each decision to reject or accept an
amcndmcnt.

lnformation regarding the amendment process is available onlinc: http:/ /'oscr.
umich.cdu/statcmcnt/amcndmcnt

 

 

C€}Se 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed 06/19/18 Page|D.491 Page 15 Oil 16

STATE|VIENT OF STUDENT R|GHTS AND RESPONS|BIL|T|ES '|4

UNIVERSITY OF MlCHIGA.N NOND|SCRIM!NAT|ON POL|CY
[ei:t`{‘(‘.tive April 16, 2014)

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REGENTS OF THE UNlVERSlTY
(ei‘fective .lanuary 1, 2017)

Michae] .l. Belmi, Grand Blanc

Mark J. Bernstein, Ann Arbor

Shauna Ryder Diggs, Grosse Pointe
Denise llitcli, Bingliam Fat‘ms

And rea Fischer Newman, Ann Arbor
Andrew C. Richner, Grosse Pointe Park
Ron W`eiser, ./\nn Arbol'

Kalhel‘ine E. White, Ann Arbor

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For more information, please contact

Ofiice of Student Conflicl Resolution [OSCR]

Division of Student Life

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(734) 615-8826 fax

'l`he Srotement is also available online at http: /'/oscr.umich.edu
This version of the Stotement became effective on Jnly 1, 2016.

 

CalSe 2218-CV-11776-A.]T-EAS ECF NO. 23-1 filed O6/19/18 Page|D.492 Page 16 Ol16

 

